Case: 4:22-cv-00384-SRC Doc. #: 1-1 Filed: 04/01/22 Page: 1 of 9 PageID #: 8




                EXHIBIT A
                                                                                                      Electronically Filed - St Charles Circuit Div - January 17, 2022 - 01:56 PM
     Case: 4:22-cv-00384-SRC Doc. #: 1-1 Filed: 04/01/22 Page: 2 of 9 PageID #: 9
                                                                                 2211-CC00046

                      IN THE CIRCUIT COURT OF ST. CHARLES COUNTY
                                   STATE OF MISSOURI

CONNIE WILKERSON,                               )
                                                )
         Plaintiff,                             )
                                                )       Cause No.:
v.                                              )
                                                )       JURY TRIAL DEMANDED
AMAZON.COM SERVICES, LLC                        )
                                                )
SERVE REGISTERED AGENT:                         )
CSC-Lawyers Incorporating                       )
Service Company                                 )
221 Bolivar Street                              )
Jefferson City, MO 65101                        )

                                             PETITION

         COMES NOW Plaintiff, CONNIE WILKERSON, by and through undersigned counsel,

and for her Petition, states the following to the Court:

                                    STATEMENT OF THE CASE

         1.      Plaintiff Connie Wilkerson (“Plaintiff”), was an employee of Defendant

AMAZON.COM SERVICES, LLC (“AMAZON”) who was injured on the job and had one or

more serious medical conditions that substantially limited one or more of life’s major activities.

         2.      Defendant refused to accommodate Plaintiff’s requests for reasonable

accommodations and terminated her on or about February 21, 2021.

         3.      Plaintiff’s termination was due to one or more of the following illegal reasons:

                 a. Defendant Amazon terminated Plaintiff for reporting a work-related injury

                      and/or illness or otherwise exercising her rights under the Missouri Workers’

                      Compensation Law;

                 b. Defendant Amazon terminated Plaintiff because of her disability or perceived

                      disability;

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                                                                                                   Electronically Filed - St Charles Circuit Div - January 17, 2022 - 01:56 PM
 Case: 4:22-cv-00384-SRC Doc. #: 1-1 Filed: 04/01/22 Page: 3 of 9 PageID #: 10




               c. Defendant Amazon terminated Plaintiff in retaliation for requesting a

                   reasonable accommodation.

       4.      This is an action brought to remedy, inter alia, Defendant Amazon’s violations of

Plaintiff’s rights pursuant to the Missouri Human Rights Act and the Missouri Workers

Compensation Law, § 287.010 RSMo., et seq.

                                             PARTIES

       5.      Plaintiff is a resident of the State of Missouri.

       6.      Defendant Amazon is a foreign limited liability company formed under the laws of

the State of Delaware.

       7.      Defendant Amazon is a foreign limited liability company that uses the service of

five or more persons for pay.

       8.      Defendant Amazon is an “employer” as that term is defined under the Missouri

Workers Compensation Act.

       9.      At all relevant times, Plaintiff was employed by Defendant Amazon.

                                 JURISDICTION AND VENUE

       10.     Defendant Amazon conducts continuous and systematic business in the State of

Missouri.

       11.     Defendant Amazon has in excess of 5,000 employees.

       12.     Plaintiff’s cause of action arises out of conduct that took place in St. Charles

County, State of Missouri, as Plaintiff was employed by Defendant Amazon’s facility located at

4000 Premier Pkwy, St. Charles, MO 63301 (“Facility”).

       13.     Venue is proper within this Court because at least one of the unlawful practices

complained of herein occurred in St. Charles County, State of Missouri.



                                                  2
                                                                                                    Electronically Filed - St Charles Circuit Div - January 17, 2022 - 01:56 PM
 Case: 4:22-cv-00384-SRC Doc. #: 1-1 Filed: 04/01/22 Page: 4 of 9 PageID #: 11




        14.    This Honorable Court has jurisdiction pursuant to § 213.111 RSMo.

        15.    Plaintiff received her Notice of Right to Sue letter from the Missouri Commission

on Human Rights (“MCHR”) on December 21, 2021 See Plaintiff’s Exhibit 1 attached hereto.

                FACTUAL ALLEGATIONS COMMON TO ALL COUNTS

        16.    In or around October 11, 2019, Plaintiff was hired by Defendant Amazon as a

Fulfillment Associate at the Facility.

        17.    During the course of Plaintiff’s employment with Defendant Amazon, she was

injured at work on or about December 5, 2019.

        18.    Plaintiff reported her injury to Amazon and sought to utilize her rights under the

Missouri Workers’ Compensation Law.

        19.    Plaintiff was given work restrictions from December 6, 2019 through December 9,

2019.

        20.    On December 9, 2019. Amazon claimed there were no available positions that

could accommodate Plaintiff’s restrictions.

        21.    Plaintiff denies that Amazon could not accommodate her.

        22.    On December 19, 2019, Plaintiff was ordered back to work without restrictions.

        23.    Plaintiff’s condition had not significantly improved from December 5, 2019

through December 19, 2019.

        24.    Plaintiff returned to work using only one arm.

        25.    Amazon knew Plaintiff was only using one arm to work.

        26.    Amazon knew or should have known that Plaintiff was only using one arm because

of her workplace injury.




                                                3
                                                                                                       Electronically Filed - St Charles Circuit Div - January 17, 2022 - 01:56 PM
  Case: 4:22-cv-00384-SRC Doc. #: 1-1 Filed: 04/01/22 Page: 5 of 9 PageID #: 12




          27.   Because she was only using one arm her productivity was lower than employees

using both arms.

          28.   Instead of giving Plaintiff less work, she was given more work to do.

          29.   Plaintiff received negative performance evaluations based upon her productivity.

          30.   Plaintiff contends that she was not working on some of the days she was evaluated.

          31.   Plaintiff brought this to Amazon’s attention but was told, “[i]t doesn’t matter.”

          32.   Plaintiff was terminated on February 21, 2020 for failing to improve her

productivity.

                                             COUNT I

                               (Worker's Compensation Retaliation)

          33.   Plaintiff restates and realleges paragraphs 1-32 of this Petition as if fully stated

herein.

          34.   Defendant Amazon was aware that Plaintiff had a work-related injury.

          35.   Defendant Amazon was aware that Plaintiff sought medical treatment as a result of

her work-related injury.

          36.   Plaintiff’s workers' compensation claim, and her otherwise seeking benefits under

the Missouri Worker’s Compensation Law, was a motivating factor in Defendant Amazon’s

wrongful termination of Plaintiff.

          37.   Defendant Amazon’s actions were intentional with reckless indifference to

Plaintiff’s rights and sensibilities.

          38.   As a direct and proximate result of Defendant Amazon’s wrongful acts, Plaintiff

sustained injuries and damages. These include, but are not limited to the following: past and future

wage loss; past and future lost earning capacity; past and future loss of fringe benefits; loss of



                                                  4
                                                                                                         Electronically Filed - St Charles Circuit Div - January 17, 2022 - 01:56 PM
 Case: 4:22-cv-00384-SRC Doc. #: 1-1 Filed: 04/01/22 Page: 6 of 9 PageID #: 13




career opportunities; shame, humiliation, embarrassment, anxiety, loss of sleep and interference

with the enjoyment of life; and emotional distress, all of which will continue into the future.

          39.   All of the actions of Defendant Amazon were intentional, careless and/or reckless

and performed in complete disregard of the law and the rights of Plaintiff for which conduct and

actions, punitive damages are properly imposed in such amounts as will punish Defendant Amazon

for its wrongful conduct and deter it and others from like conduct in the future.

          WHEREFORE, Plaintiff prays that judgment be entered against Defendant Amazon, and

that Plaintiff be awarded past, present and future lost wages and benefits; compensatory damages,

punitive and exemplary damages; interest, costs, and reasonable attorneys' fees; any other relief

afforded Plaintiff under the law, and all other relief deemed just and equitable.

                                             COUNT II

      (Missouri Human Rights Act: Disability Discrimination-Wrongful Termination)

          40.   Plaintiff restates and realleges paragraphs 1-32 of this Petition as if fully stated

herein.

          41.   Plaintiff’s medical condition is a serious medical condition that substantially limits

one or more major life activities, or alternatively, Defendant Amazon perceived Plaintiff as having

such a condition.

          42.   Plaintiff’s disability or perceived disability placed her as a member of a protected

class under the MHRA.

          43.   Plaintiff was qualified to perform the essential functions of the job with or without

a reasonable accommodation.

          44.   Plaintiff was only working with one arm.

          45.   Defendant Amazon had the capacity to accept Plaintiff was working with one arm

and take her condition into account when judging her performance.

                                                  5
                                                                                                      Electronically Filed - St Charles Circuit Div - January 17, 2022 - 01:56 PM
  Case: 4:22-cv-00384-SRC Doc. #: 1-1 Filed: 04/01/22 Page: 7 of 9 PageID #: 14




        46.     Plaintiff was subjected to tangible employment actions including, but not limited

to, termination.

        47.     Plaintiff’s disability was a motivating factor in the tangible employment actions

including, but not limited to, termination.

        48.     Defendant Amazon’s actions were intentional with reckless indifference to

Plaintiff’s rights and sensibilities.

        49.     Defendant Amazon treated Plaintiff differently than similarly situated employees

based on unlawful consideration of disability.

        50.     As a direct and proximate result of Defendant Amazon’s wrongful acts, Plaintiff

has sustained injuries and damages. These include but are not limited to past and future wage loss;

past and future lost earning capacity; loss of career opportunities; shame, humiliation,

embarrassment, anxiety, loss of sleep and interference with her enjoyment of life; and emotional

distress, all of which will continue into the future.

        51.     The actions of Defendant Amazon were intentional, careless and/or reckless and

performed in complete disregard of the law and the rights of Plaintiff, for which conduct and

actions, punitive damages are properly imposed in such amounts as will punish Defendant Amazon

for its wrongful conduct and deter it and others from like conduct in the future.

        WHEREFORE, Plaintiff prays that judgment be entered against Defendant Amazon, and

Plaintiff be awarded past, present and future lost wages and benefits; compensatory damages,

punitive and exemplary damages; interest, costs, and reasonable attorneys’ fees; any other relief

afforded Plaintiff under the Missouri Human Rights Act, and all other relief deemed just and

equitable.




                                                   6
                                                                                                          Electronically Filed - St Charles Circuit Div - January 17, 2022 - 01:56 PM
 Case: 4:22-cv-00384-SRC Doc. #: 1-1 Filed: 04/01/22 Page: 8 of 9 PageID #: 15




                                            COUNT III

                           (Missouri Human Rights Act – Retaliation)

          52.   Plaintiff restates and realleges paragraphs 1-32 of this Petition as if fully stated

herein.

          53.   Plaintiff engaged in protected activities, including, but not limited to, reporting her

disability to Defendant Amazon and requesting reasonable accommodations for her disability.

          54.   As a result of engaging in said protected activities, Plaintiff has suffered – and

continues to suffer – adverse employment actions, as alleged in this Petition, including, but not

limited to, termination from employment by Defendant Amazon.

          55.   As a direct and proximate result of Defendant Amazon’s wrongful acts, Plaintiff

has sustained injuries and damages. These include but are not limited to past and future wage loss;

past and future earning capacity; loss of career opportunities; shame, humiliation, embarrassment,

anxiety, loss of sleep and interference with her enjoyment of life; and emotional distress, all of

which will continue into the future.

          56.   The actions of Defendant Amazon were intentional, careless and/or reckless and

performed in complete disregard of the law and the rights of Plaintiff, for which conduct and

actions, punitive damages are properly imposed in such amounts as will punish Defendant Amazon

for its wrongful conduct and deter it and others from like conduct in the future.

          WHEREFORE, Plaintiff prays that judgment be entered against Defendant Amazon, and

Plaintiff be awarded past, present and future lost wages and benefits; compensatory damages,

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afforded Plaintiff under the Missouri Human Rights Act, and all other relief deemed just and

equitable.



                                                   7
                                                                                Electronically Filed - St Charles Circuit Div - January 17, 2022 - 01:56 PM
Case: 4:22-cv-00384-SRC Doc. #: 1-1 Filed: 04/01/22 Page: 9 of 9 PageID #: 16




                                   Respectfully submitted,

                                   THE FURNISS LAW FIRM, LLC

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                                      8
